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                      EXHIBIT B
   Case 1:22-cv-00520-MAV-JJM                              Document 383-3                  Filed 05/20/25               Page 2 of 14


From:                  Firsenbaum, Ross
To:                    Nicole Austin; jbrudin@rudinlaw.com
Cc:                    James P. Blenk; Meredith Vacca; Hanft, Gideon A.; Perio, Ryanne; Brian C. Mahoney; Kirstie A. Means;
                       David@rudinlaw.com; Spencer Durland; buffalo 5 plaintiff counsel@list.wilmerhale.com; John Lyle; Katelyn Popp;
                       Jennifer C. Persico; Thomas R. Southard
Subject:               RE: Fraiser citation requested
Date:                  Friday, April 4, 2025 1:29:25 PM
Attachments:           external.png
                       2025-04-04 Pl"s Revised Proposed Verdict Sheet(209195519.1).docx




Dear Ms. Austin: Please find a revised form attached.

Respectfully,



Ross E. Firsenbaum | WilmerHale
7 World Trade Center
250 Greenwich Street
New York, NY 10007 USA
+1 212 295 6323 (t)
+1 212 230 8888 (f)
ross.firsenbaum@wilmerhale.com

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postmaster@wilmerhale.com—and destroy all copies of this message and any attachments. Thank you.

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From: Nicole Austin <Nicole_Austin@nywd.uscourts.gov>
Sent: Friday, April 4, 2025 1:23 PM
To: jbrudin@rudinlaw.com
Cc: James P. Blenk <jblenk@lippes.com>; Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>;
Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Hanft, Gideon A.
<Gideon.Hanft@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>; Brian C. Mahoney
<bmahoney@lippes.com>; Kirstie A. Means <kmeans@lippes.com>; David@rudinlaw.com; Spencer
Durland <sdurland@hooverdurland.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; John Lyle
<John_Lyle@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>; Jennifer C. Persico
<jpersico@lippes.com>; Thomas R. Southard <tsouthard@lippes.com>
Subject: RE: Fraiser citation requested


EXTERNAL SENDER
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Thank you, Mr. Rudin.

Nicole W. Austin
Law Clerk to Judge Meredith A. Vacca
Western District of New York
Kenneth B. Keating Federal Building
100 State Street, Rochester, NY 14614
O: 585-613-4374 | FAX: 716-613-4375
www.nywd.uscourts.gov

From: Joel B. Rudin <jbrudin@rudinlaw.com>
Sent: Friday, April 4, 2025 1:13 PM
To: Nicole Austin <Nicole_Austin@nywd.uscourts.gov>
Cc: James P. Blenk <jblenk@lippes.com>; Ross Firsenbaum <Ross.Firsenbaum@wilmerhale.com>;
Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Gideon A. Hanft
<Gideon.Hanft@wilmerhale.com>; Ryanne Perio <Ryanne.Perio@wilmerhale.com>; Brian C. Mahoney
<bmahoney@lippes.com>; Kirstie A. Means <kmeans@lippes.com>; David Rudin <David@rudinlaw.com>;
Spencer Durland <sdurland@hooverdurland.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com;
John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>; Jennifer
C. Persico <jpersico@lippes.com>; Thomas R. Southard <tsouthard@lippes.com>
Subject: Re: Fraiser citation requested

CAUTION - EXTERNAL:



I have checked and the Fraser case instruction doesn’t really apply. We will propose a new
verdict sheet that separates the claims later today if that’s alright. Thank you.

Sent from my iPhone


      On Apr 4, 2025, at 12:37 PM, Nicole Austin <Nicole_Austin@nywd.uscourts.gov>
      wrote:


      Per Judge Vacca’s request earlier today, will counsel please provide the citation
      to the Fraiser case discussed?

      Thank you!

      <image001.png>
                        Nicole W. Austin
                        Law Clerk to Judge Meredith A. Vacca
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                        Western District of New York
                        Kenneth B. Keating Federal Building
                        100 State Street, Rochester, NY 14614
                        O: 585-613-4374 | FAX: 716-613-4375
                        www.nywd.uscourts.gov




CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when
opening attachments or clicking on links.
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                         UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK

                                                  )
JOHN WALKER, JR.,                                 )
                                                  )
                                 Plaintiff,       )     Case No. 1:22-cv-520
                                                  )
                   - against -                    )
                                                  )
THE COUNTY OF ERIE,                               )
                                                  )
                                 Defendant.       )

                                     VERDICT FORM


  1. As to the claim of Plaintiff John Walker, Jr. that a policy, custom, or practice of the Erie
     County District Attorney’s Office caused the violation of Mr. Walker’s right to a fair
     criminal trial due to the failure to disclose one or more items of Brady evidence:

     We the jury find the County of Erie [CHECK ONE]:

     ___ Liable.

     ___ Not liable.

  2. As to the claim of Plaintiff John Walker, Jr. that a policy, custom, or practice of the Erie
     County District Attorney’s Office caused the violation of Mr. Walker’s right to a fair
     criminal trial due to summation misconduct:

     We the jury find the County of Erie [CHECK ONE]:

     ___ Liable.

     ___ Not liable.


  3. If you checked “Liable” in Response to Question No. 1 OR Question No. 2 above (or both),
     please identify on the line below the amount of compensatory damages that you find that
     Mr. Walker is entitled to for the period beginning on June 13, 1977 (the date of Mr.
     Walker’s conviction) until the present:

  $ ______________________



                                              1
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     4. If you checked “Liable” in Response to Question No. 1 OR Question No. 2 above (or both),
        please apportion fault for the violation of Mr. Walker’s constitutional rights identified
        therein among Erie County and the City of Buffalo, such that the total equals 100%. 1

        ___% County of Erie
           % City of Buffalo



Please have the Foreperson sign and date this form and return the entire Verdict Form to
the marshal.

SO SAY WE ALL.


                                                     _______________________
                                                     Jury Foreperson


                                                     Dated: April __, 2025




1
  Plaintiff preserves his objection to, and appellate rights regarding, the County’s “apportionment”
defense, but includes the defense herein since the Court has already permitted such a defense.
                                                   2
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From:              Kirstie A. Means
To:                Firsenbaum, Ross; Meredith Vacca; Nicole Austin
Cc:                Hanft, Gideon A.; Brian C. Mahoney; David@rudinlaw.com; Spencer Durland; Perio, Ryanne;
                   jbrudin@rudinlaw.com; buffalo 5 plaintiff counsel@list.wilmerhale.com; John Lyle; Katelyn Popp; Jennifer C.
                   Persico; James P. Blenk; Thomas R. Southard
Subject:           RE: 22-cv-520: Walker v. County of Erie, County"s Response to Plaintiff"s March 23 memos
Date:              Wednesday, April 2, 2025 10:51:16 PM
Attachments:       image001.png
                   image013345.png
                   FINAL COE Proposed Verdict Sheet.docx


Good evening, Your Honor and Counsel:

        Pursuant to the Court’s directive on April 1, 2025, the County submits its proposed Verdict Sheet,
reserving the right to seek modifications pending the completion of proof at trial and pending rulings which
may bear on the issues, jury charges and/or ultimate form of the verdict sheet.

         As a threshold matter, the County reiterates its objection to Plaintiff’s purported Russo claim and
maintains a directed verdict on that issue is warranted, as set forth more fully in the County’s pending
motion at Docket 342. The County respectfully submits there is no basis to submit an alleged Russo
claim to the jury, and to include a claim for which no Monell liability could be established, in addition to the
claim’s substantive infirmities, would be error, confuse the issues, and risk an inconsistent verdict and/or
a duplicative damages award. Plaintiff’s claim against the County is limited to a single cause of action,
contingent upon, among other things, a finding of municipal liability under Monell. Plaintiff has steadily
sought to stretch the bounds of that claim to every extent possible, including, if permitted to go to the jury,
seeking distinct compensatory damages awards stemming from a single cause of action and pursuing a
claim for which no liability can be established as a matter of law.

          The County reiterates that Plaintiff’s Russo claim is improper because he has no evidence to
support Monell liability grounded in an alleged Russo violation, that Russo was not decided until 2007 –
30 years after the conduct alleged in this case, and that the alleged conduct does not rise to an alleged
Russo violation. See Horn v. City of New Haven, 2024 WL 1261421, at *13 (D. Conn. Mar. 19, 2024)
(“District courts in the Second Circuit have recognized that to recover damages for unreasonably
prolonged detention, the plaintiff must prove that he would have been released were it not for the
defendant's conscience-shocking mishandling of highly significant evidence of the plaintiffs’ actual
innocence.”). Notably, in Horn, the court recognized that “[s]ince Russo, the Second Circuit has
considered the legal sufficiency of claims for unreasonably prolonged pretrial detention in six cases” and
in all such cases, “the claim failed.” Id. at n.8. The Court further acknowledged that as a general matter,
“[w]hether a Russo claim is available in the post-conviction context is questionable.” Id. at n.9. As
acknowledged by the court’s analysis in Horn, a Russo violation requires a strict evidentiary showing, and
even assuming Plaintiff could establish that (which he cannot), no reasonable trier of fact could find a
pattern or practice of similar violations to sustain liability against the County under Monell in this case.

         At every level, the viability of Plaintiff’s Russo claim fails, and the County respectfully submits that
to put this claim to the jury would be error. The County maintains Plaintiff’s Russo claim should be
dismissed outright, but to the extent the claim is permitted to be presented to the jury, and in an effort to
not conflate Plaintiff’s Russo claim with his other claims arising from alleged summation and Brady
issues, including for preservation purposes, the County has included a distinct award on damages
stemming from Plaintiff’s Russo claim. However, the County maintains its objections previously set forth
and above, and notes that while avoiding conflating these issues seems preferable, including reference to
an alleged Russo claim in any capacity in this case risks inconsistent verdicts, duplicative damages and is
overall unduly prejudicial to the County by suggesting a viable claim exists against the County, much less
that it would or should invite the jury to consider a distinct award of damages for a claim that has no basis
in law or fact.   

         Relatedly, the County maintains that Plaintiff’s improper summation claim fails to establish a
constitutional violation as a matter of law. The contents of ADA Henry’s summation, as advanced in the
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________________

JOHN WALKER, JR.,
                                                                    COUNTY OF ERIE’S
                     Plaintiff,                                     PROPOSED VERDICT
                                                                    SHEET
-against-
                                                                    Civil Action No.:
THE CITY OF BUFFALO; THE COUNTY OF ERIE;                            1:22-cv-520
MICHAEL G. GUADAGNO; JOHN MONTONDO;
LINDA J. FIAL AS EXECUTOR FOR THE ESTATE OF
ROBERT GRABOWSKI; AND MARTIN BULLOCK AS
EXECUTOR FOR THE ESTATE OF JAMES E. HUNTER,
JENNIFER G. FLANNERY AS ADMINISTRATOR FOR
THE ESTATE OF ROBERT F. ARNET, JENNIFER G.
FLANNERY AS ADMINISTRATOR FOR THE ESTATE
OF FRANK C. DEUBELL, JENNIFER FLANNERY AS
ADMINISTRATOR FOR THE ESTATE OF LEO J.
DONOVAN, JENNIFER G. FLANNERY AS
ADMINISTRATOR FOR THE ESTATE OF FRANCIS M.
MANISTA, JR., AND DAWN M. DIRIENZO AS
EXECUTOR FOR THE ESTATE OF PAUL R. DELANO

                  Defendants.
_________________________________________________

                             ALLEGED BRADY VIOLATION

  1. Did the plaintiff prove that Erie County Assistant District Attorney David Henry
     suppressed evidence favorable to him in his June 1977 criminal trial?

      YES _____ NO _____

      If “Yes”, go to number 2.

      If “No”, go to number 5.

  2. Did the plaintiff prove that the suppressed evidence was material to the outcome of his
     June 1977 criminal trial?

      YES _____ NO _____

      If “Yes”, go to number 3.

      If “No”, go to number 5.

                                              1
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 3. Did the plaintiff prove that the Erie County District Attorney’s Office had a widespread
    custom or practice of suppressing material and favorable evidence from criminal
    defendants or their attorneys in June 1977?

    YES _____ NO _____

    If “Yes”, go to number 4.

    If “No”, go to number 5.

 4. Did the plaintiff prove that the policy, custom or practice of the County of Erie directly
    caused the denial of his constitutional right to material and favorable evidence?

    YES _____ NO _____

    Go to number 5.

                        ALLEGED IMPROPER SUMMATION

 5. Did the plaintiff prove that Assistant District Attorney David Henry’s summation was
    improper?

    YES _____ NO _____

    If “Yes”, go to number 6.

    If “No”, go to number 9.

 6. Did the plaintiff prove that Assistant District Attorney David Henry’s summation caused
    substantial prejudice so as to violate the plaintiff’s constitutional right to due process?

    YES _____ NO _____

    If “Yes”, go to number 7.

    If “No”, go to number 9.

 7. Did the plaintiff prove that the County of Erie maintained a policy, custom, or practice of
    permitting improper summations which violate defendants’ rights to due process?

    YES _____ NO _____

    If “Yes”, go to number 8.

    If “No”, go to number 9.


                                              2
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 8. Did the plaintiff prove that the policy, custom or practice of the County of Erie directly
    caused Assistant District Attorney David Henry to deliver an improper summation?

    YES _____ NO _____

    Go to number 9.

                                ALLEGED RUSSO CLAIM

 9. Did the plaintiff prove that Assistant District Attorney Timothy Drury suppressed highly
    significant exculpatory evidence at the time of his 1976 preliminary hearing?

    YES _____ NO _____

    If “Yes”, go to number 10.

    If “No”, and you have answered “Yes” to questions 1, 2, 3 or 4, and/or “Yes” to
    questions 5, 6, 7, and 8, go to number 13.

    If “No”, and you have answered “No” to questions 1, 2, 3 or 4, and “No” to questions 5,
    6, 7, and 8, you have found a verdict in favor of the County of Erie. Go to
    “Instructions.”

 10. Did the plaintiff prove that Assistant District Attorney Timothy Drury acted with intent to
     unlawfully detain the plaintiff or with deliberate indifference to his constitutional right at
     the time of the plaintiff’s 1976 preliminary hearing?

    YES _____ NO _____

    If “Yes”, go to number 11.

    If “No”, and you have answered “Yes” to questions 1, 2, 3 or 4, and/or “Yes” to
    questions 5, 6, 7, and 8, go to number 13.

    If “No”, and you have answered “No” to questions 1, 2, 3 or 4, and “No” to questions 5,
    6, 7, and 8, you have found a verdict in favor of the County of Erie. Go to
    “Instructions.”

 11. Did the plaintiff prove that the District Attorney’s Office had a widespread custom or
     practice of suppressing highly significant exculpatory evidence from criminal defendants
     or their attorneys at the time of pretrial preliminary hearings in January 1976?

    YES _____ NO _____


                                               3
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    If “Yes”, go to number 12.

    If “No”, and you have answered “Yes” to questions 1, 2, 3 or 4, and/or “Yes” to
    questions 5, 6, 7, and 8, go to number 13.

    If “No”, and you have answered “No” to questions 1, 2, 3 or 4, and “No” to questions 5,
    6, 7, and 8, you have found a verdict in favor of the County of Erie. Go to
    “Instructions.”

 12. Did the plaintiff prove that the policy, custom or practice of the County of Erie directly
     caused the suppression of material and favorable evidence at the time of the plaintiff’s
     preliminary hearing?

    YES _____ NO _____
    If “Yes”, go to number 13.

    If “No”, and you have answered “Yes” to questions 1, 2, 3 or 4, and/or “Yes” to
    questions 5, 6, 7, and 8, go to number 13.

    If “No”, and you have answered “No” to questions 1, 2, 3 or 4, and “No” to questions 5,
    6, 7, and 8, you have found a verdict in favor of the County of Erie. Go to
    “Instructions.”

                          BUFFALO POLICE DEPARTMENT

 13. Did the Buffalo Police Department, including Michael G. Guadagno, John Montondo,
     James E. Hunter, Robert Grabowski, Robert F. Arnet, Frank C. Deubell, Leo J. Donovan,
     Francis M. Manista, Jr., Paul R. Delano (collectively, the “Buffalo Police Department”),
     cause or contribute to the arrest, conviction and incarceration of Mr. Walker?

    YES _____ NO _____

    If “Yes”, go to number 14.

    If “No”, go to “Instructions.”

 14. What is the percentage of fault that you attribute to each party? The total must equal
     100%.

        a. COUNTY OF ERIE                                 ______%

        b. BUFFALO POLICE DEPARTMENT                      ______%

                                   Go to “Instructions”.



                                              4
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                                        INSTRUCTIONS

       If you have answered “No” to questions 1, 2, 3, or 4, “No” to questions 5, 6, 7, or 8, and
“No” to questions 9, 10, 11 or 12, you have found a verdict in favor of the County of Erie, do not
answer the “Damages” question, cease deliberation, foreperson please sign and date the verdict
sheet and advise the court by note that you have reached a verdict, and are ready to return to the
Courtroom to announce your verdict.

       On the other hand, if you have answered “Yes” to questions 1, 2, 3 and 4, “Yes” to
questions 5, 6, 7 and 8, “Yes” to questions 9, 10, 11 and 12, your verdict is in favor of Plaintiff
John Walker, Jr. please answer the “Damages” question that follows.




                                           DAMAGES

   15. If you found a verdict in favor of the plaintiff on his alleged improper summation claim
       and/or his alleged Brady claim, please state the amount of damages, if any, that you
       award to the plaintiff for compensatory damages:


       Amount $_________________



   16. If you found a verdict in favor of the plaintiff on his alleged Russo claim, please state the
       amount of damages, if any, that you award to the plaintiff for compensatory damages:


       Amount $__________________




________________________________                      ________________________________
Signature of Foreperson                               Date



                                     RETURN TO COURT




                                                 5
